       Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 1 of 22




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :   20 Cr. 330 (AJN)
               v.                                       :
                                                        :
 GHISLAINE MAXWELL,
                                                        :
                                                        :
             Defendant.
                                                        :
                                                        :
------------------------------------------------------- x

               MEMORANDUM OF GHISLAINE MAXWELL
     IN SUPPORT OF HER MOTION UNDER THE FOURTH AMENDMENT,
  MARTINDELL, AND THE FIFTH AMENDMENT TO SUPPRESS ALL EVIDENCE
 OBTAINED FROM THE GOVERNMENT’S SUBPOENA TO                 AND
                  TO DISMISS COUNTS FIVE AND SIX


                                                            Jeffrey S. Pagliuca
                                                            Laura A. Menninger
                                                            HADDON, MORGAN & FOREMAN P.C.
                                                            150 East 10th Avenue
                                                            Denver, CO 80203
                                                            Phone: 303-831-7364

                                                            Mark S. Cohen
                                                            Christian R. Everdell
                                                            COHEN & GRESSER LLP
                                                            800 Third Avenue New
                                                            York, NY 10022
                                                            Phone: 212-957-7600

                                                            Bobbi C. Sternheim
                                                            Law Offices of Bobbi C. Sternheim
                                                            33 West 19th Street - 4th Floor
                                                            New York, NY 10011
                                                            Phone: 212-243-1100
                                                            Phone: 212-243-1100


                                                            Attorneys for Ghislaine Maxwell
           Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 2 of 22




                                                       TABLE OF CONTENTS

TABLE OF CONTENTS ........................................................................................................ i

TABLE OF AUTHORITIES .................................................................................................. ii

FACTUAL BACKGROUND ................................................................................................. 1

ARGUMENT ........................................................................................................................ 2

I.         The government’s violation of the Fourth Amendment requires suppression. .................... 2

      A.        The subpoena violated the Fourth Amendment because it was unconstitutionally
                overbroad. ......................................................................................................................... 4

      B.        The government’s subpoena to                               was an unconstitutional warrantless Fourth
                Amendment search. ........................................................................................................... 6

           1.       The third-party doctrine does not compel a different result. ........................................ 8

      C.        The government’s subpoena to                              was an unconstitutional Fourth
                Amendment seizure. ....................................................................................................... 11

II.        The government’s violation of Martindell requires suppression. ..................................... 11

III.       The government’s violation of the Fifth Amendment requires suppression. ..................... 15

Conclusion .......................................................................................................................... 17

Certificate of Service ............................................................................................................ 18




                                                                            i
        Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 3 of 22




                                           TABLE OF AUTHORITIES

Cases

Boyd v United States, 116 U.S. 616 (1886) .......................................................................... 3, 6, 15

Carpenter v. United States, 138 S. Ct. 2206 (2018) ........................................................... 3, 5, 6, 9

Colorado v. Bannister, 449 U.S. 1 (1980) ...................................................................................... 3

DeMassa v. Nunez, 770 F.2d 1505 (9th Cir. 1985)....................................................................... 10

Doe v. Broderick, 225 F.3d 440 (4th Cir. 2000) ..................................................................... 10, 13

Fisher v. United States, 425 U.S. 391 (1976) ........................................................................... 3, 15

Hale v. Henkel, 201 U.S. 43 (1906) ............................................................................................ 2, 4

In re Grand Jury Subpoena Duces Tecum, 945 F.2d 1221 (2d Cir. 1991) ................................... 14

In re Grand Jury Subpoena, JK-15-029, 828 F.3d 1083 (9th Cir. 2016) ............................. 4, 5, 11

Katz v. United States, 389 U.S. 347 (1967) ................................................................................ 2, 6

Murphy v. Waterfront Comm’n of New York Harbor, 378 U.S. 52 (1964) .................................... 2

Palmieri v. State of New York, 779 F.2d 861 (2d Cir. 1985) ........................................................ 14

People v. Gutierrez, 222 P.3d 925 (Colo. 2009) ........................................................................... 10

People v. Mason, 989 P.2d 757 (Colo. 1999) ................................................................................. 8

Smith v. Maryland, 442 U.S. 735, 740 (1979) ....................................................................... passim

United States v. Calandra, 414 U.S. 338 (1974) ............................................................................ 6

United States v. Di Re, 332 U.S. 581 (1948) .................................................................................. 6

United States v. Dionisio, 410 U.S. 1 (1973) ............................................................................ 2, 15

United States v. Miller, 425 U.S. 435 (1976)............................................................................ 9, 10

United States v. Oshatz, 700 F. Supp. 696 (S.D.N.Y. 1988) ........................................................ 16

United States v. Place, 462 U.S. 696 (1983) .................................................................................. 3

United States v. Thomas, 736 F.3d 54 (1st Cir. 2013) .................................................................... 6


                                                                 ii
        Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 4 of 22




Constitutional Provisions

U.S. CONST. amend. IV ....................................................................................................... passim

U.S. CONST. amend. V ......................................................................................................... passim




                                                                 iii
      Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 5 of 22




       Ghislaine Maxwell moves under the Fourth Amendment, Martindell v. Int’l Tel. & Tel.

Corp., 594 F.2d 291 (2d Cir. 1979), and the Fifth Amendment, to suppress all evidence the

government obtained from a grand jury subpoena it issued to                                   and to

dismiss Counts Five and Six, which are the fruits of that unlawful subpoena.

                                  FACTUAL BACKGROUND
       Ms. Maxwell’s Motion under the Due Process Clause to Suppress and Dismiss Counts 5

and 6 sets forth the facts relevant to this motion. Ms. Maxwell incorporates those facts by

reference here.

       In summary, the government obtained                     file, including the

                        , by way of a grand jury subpoena enforced through an ex parte

proceeding before

                                   . Although the government claimed not to know what was in

                  file and that             had no role in instigating the investigation of

Maxwell, both of these representations to                   were false.

       In turn, the government issued a                                              in the

                                    . See Motion under the Due Process Clause to Suppress and

Dismiss Counts 5 and 6, EX. C, at 3. The government could have been, but was not, more

targeted in its approach. The government has not provided Maxwell with a copy of the subpoena,

but the record shows that the subpoena was incredibly broad and, as explained below, ultimately

unlawful.

       The subpoena violated the Fourth Amendment because it was overbroad and because it

effected a warrantless search and seizure of material in which Maxwell had a reasonable

expectation of privacy. Moreover, by securing a modification of the Protective Order through a

secret, ex parte proceeding, the government violated Martindell v. Int’l Tel. & Tel. Corp., 594


                                                1
      Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 6 of 22




F.2d 291 (2d Cir. 1979), which required the government to give Maxwell notice and an

opportunity to be heard on its request. And in bypassing Martindell and eviscerating the

guarantee of confidentiality provided by the Protective Order, the government trampled on

Maxwell’s Fifth Amendment privilege against self-incrimination, which she declined to invoke

in reliance on the protections afforded her by Martindell and the Protective Order.

       This Court should (1) suppress all evidence the government obtained from

and any other evidence derived therefrom; or (2) suppress the April and July 2016 depositions

and all evidence derived therefrom; and (3) dismiss Counts Five and Six.

                                         ARGUMENT

   I. The government’s violation of the Fourth Amendment requires suppression.

       The Fourth Amendment provides: “The right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures, shall not be violated, and

no Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and

particularly describing the place to be searched, and the persons or things to be seized.” U.S.

CONST. amend. IV. The “Fourth Amendment provides protection against a grand jury subpoena

duces tecum too sweeping in its terms ‘to be regarded as reasonable.’” United States v. Dionisio,

410 U.S. 1, 11–12 (1973) (quoting Hale v. Henkel, 201 U.S. 43, 76 (1906), abrogated in part on

other grounds by Murphy v. Waterfront Comm’n of New York Harbor, 378 U.S. 52, 68 (1964)).

       The government engages in a “search” for Fourth Amendment purposes when its conduct

encroaches on an individual’s legitimate expectation of privacy. See Katz v. United States, 389

U.S. 347, 351 (1967) (“[T]he Fourth Amendment protects people, not places.”). Absent an

exception to the warrant requirement, a governmental search is unconstitutional unless the

government conducts it under a warrant issued based on probable cause to believe a crime has

been committed and that evidence of the crime is likely to be found in the place searched.


                                                 2
      Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 7 of 22




Carpenter v. United States, 138 S. Ct. 2206, 2213 (2018) (holding that an “official intrusion into

[the] private sphere generally qualifies as a search and requires a warrant supported by probable

cause”). “[A] compulsory production of . . . private books and papers . . . is the equivalent of a

search and seizure—and an unreasonable search and seizure—within the meaning of the fourth

amendment.” Boyd v United States, 116 U.S. 616, 634–35 (1886), overruling in part on other

grounds as recognized in Fisher v. United States, 425 U.S. 391, 407–08 (1976).

       Finally, “The Fourth Amendment protects ‘effects’ as well as people from unreasonable

searches and seizures.” United States v. Place, 462 U.S. 696, 716 (1983) (Brennan, J.

concurring). It thus “protects two different interests of the citizen—the interest in retaining

possession of property and the interest in maintaining personal privacy.” Id. (cleaned up). “A

seizure threatens the former, a search the latter.” Id. Like a search, a seizure is “per se

unreasonable within the meaning of the Fourth Amendment unless it is accomplished pursuant to

a judicial warrant issued upon probable cause and particularly describing the items to be seized.”

Id. at 701; see Colorado v. Bannister, 449 U.S. 1, 3 (1980).

       Here, the grand jury subpoena was unconstitutionally overbroad because it sought

production of                   entire file and was therefore akin to a general warrant. Moreover,

there is no dispute the government did not establish probable cause to believe that

          file contained evidence of a crime. (



                ) Nor is there a dispute that the government lacked a warrant. (



                                                          ) Since the government had neither

probable cause nor a warrant, the               must be suppressed because the subpoena to




                                                   3
      Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 8 of 22




        was in fact a Fourth Amendment search. And even if the government’s conduct did not

amount to a search, it constituted a seizure, which likewise should have been supported by

probable cause and warrant.

       A. The subpoena violated the Fourth Amendment because it was
          unconstitutionally overbroad.
       The subpoena to                  was unconstitutionally overbroad, and this Court should

suppress all evidence produced in response.

       “[A]n order for the production of books and papers may constitute an unreasonable

search and seizure within the 4th Amendment.” Hale, 201 U.S. at 76. Because the Fourth

Amendment was drafted with a particular eye to the abuse of general warrants, id. at 71, a

subpoena that is “unreasonably overbroad” effects an unreasonable search under the Fourth

Amendment, In re Grand Jury Subpoena, JK-15-029, 828 F.3d 1083, 1088 (9th Cir. 2016). An

overbroad subpoena is “equally indefensible as a search warrant would be if couched in similar

terms.” Id. (quoting Hale, 201 U.S. at 77). A subpoena is overbroad when the government fails

to make a “reasonable effort to request only those documents that are relevant and non-

privileged, consistent with the extent of its knowledge about the matter under investigation.” Id.

       Here, the government by its own admission made no effort—must less a reasonable

effort—to tailor and target the subpoena to               . As the prosecutor said to

          :




                                                                                    .




                                                 4
      Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 9 of 22




See Motion under the Due Process Clause to Suppress and Dismiss Counts 5 and 6, EX. D, at 17

(emphasis added). The government’s representations to                      were, of course, false.

The government met with                   before it issued the subpoena, it knew what was in

                 file and who was                                               , and it

nevertheless disclaimed any ability to narrowly tailor any subpoena. Given “its knowledge about

the matter under investigation,” the government’s failure to make any effort, much less a

“reasonable effort,” to request “only those documents that are relevant and non-privileged,”

renders the subpoena overbroad and unconstitutional. See In re Grand Jury Subpoena, JK-15-

029, 828 F.3d at 1088.

       So overbroad was the subpoena that                   actually produced to the government




       It is obvious why the Fourth Amendment requires suppression Id. at 1089. This type of

overbroad subpoena is exactly what the Fourth Amendment is designed to prohibit: searches that

invade “the privacies of life” from “arbitrary” power and “police surveillance” that is “too

permeating.” See Carpenter, 138 S. Ct. at 2213 (quoting Smith v. Maryland, 442 U.S. 735, 740

(1979)). Otherwise, “when the government seeks all material of a broad generic type that a party

possesses—every piece of paper in a corporation’s files, for example, or, as in this case,” every

piece of paper in a           file, “a reasonable possibility that some of that material would be

relevant would suffice to validate the subpoena, no matter how vast its sweep, and no matter the




                                                 5
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 10 of 22




degree to which the subpoena would reach private material of no pertinence to the grand jury’s

inquiry.” See In re Grand Jury Subpoena, JK-15-029, 828 F.3d at 1089. The Fourth Amendment

does not allow such a sweeping search, which would be nothing but a modern-day general

warrant. Id. at 1088.1 This Court should suppress all evidence the government obtained from the

subpoena to

        B. The government’s subpoena to                               was an unconstitutional
           warrantless Fourth Amendment search.

        Apart from its overbreadth, the subpoena violated the Fourth Amendment because it

amounted to a warrantless search without probable cause.

        The Fourth Amendment protects people, not places. Katz, 389 U.S. at 351. Thus, “when

an individual ‘seeks to preserve something as private,’ and [her] expectation of privacy is ‘one

that society is prepared to recognize as reasonable,’ . . . that official intrusion into that private

sphere generally qualifies as a search and requires a warrant supported by probable cause.”

Carpenter, 138 S. Ct. at 2213 (quoting Smith, 442 U.S. at 740). This definition of a what

constitutes a “search” “seeks to secure ‘the privacies of life’ against ‘arbitrary power’” and “to

place obstacles in the way of a too permeating police surveillance.” Id. at 2214 (quoting Boyd,

116 U.S. at 630; United States v. Di Re, 332 U.S. 581, 595 (1948)). A “grand jury is . . . ‘without

power to invade a legitimate privacy interest protected by the Fourth Amendment.’” United

States v. Thomas, 736 F.3d 54, 61 (1st Cir. 2013) (quoting United States v. Calandra, 414 U.S.

338, 346 (1974)).




        1
         It is for this reason that this Court should grant Maxwell’s Motion for Discovery of every grand
jury subpoena. Without being able to examine the grand jury subpoenas, Maxwell cannot evaluate
whether other subpoenas issued by the grand jury in connection with this case are unconstitutionally
overbroad, as the subpoena to                   is.



                                                    6
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 11 of 22



                                                                                               2
         Maxwell had a legitimate expectation of privacy in her                                    because

she reasonably sought to preserve them as private. Both of her                                  were

confidential under the Protective Order, which prohibited                                      from sharing

them with third parties, including law enforcement. The Protective Order deliberately excluded a

law enforcement exception. While the Protective Order did not apply to evidence produced at

trial, the parties settled the defamation action before trial, conclusively establishing the privacy

of Maxwell’s deposition testimony. Indeed, under the plain terms of the Protective Order,

                               were required to return or destroy all confidential information at the

conclusion of the case, including Maxwell’s deposition transcripts.                          refused to do

so although ordered to do so by Judge Sweet.3

         In its application to                     , the government




                     . Not only did the government misunderstand how the Protective Order worked,

but its argument also supports rather than undermines Maxwell’s legitimate expectation of

privacy in her deposition transcripts.

         To be sure, the Protective Order did not apply to evidence produced at trial. That is

entirely unremarkable, however, because trials are open to the public and the press. What matters

is that the civil case did not go to trial; it settled before trial, and under the Protective Order’s

terms,                                                                                                       ,



         2
             Not to mention all the other material she designated as “Confidential” under the Protective
Order.
         3
          Ascribing a legitimate expectation of privacy to Maxwell’s                         also fits
Martindell’s admonition that the government may not “insinuate itself into a private civil lawsuit between
others.” 594 F.2d at 294.


                                                        7
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 12 of 22




including Maxwell’s                           , and not to share Confidential information with law

enforcement.                                      :




Motion under the Due Process Clause to Suppress and Dismiss Counts 5 and 6, Ex. F, at 11

(emphases in original).

        Maxwell thus had a reasonable expectation of privacy in her                               and

everything else she designated as “Confidential” under the Protective Order.4 Obtaining that

confidential material by subpoena therefore amounted to a search under the Fourth Amendment.

Because the government had neither probable cause nor a warrant, this Court should suppress the

                         and all material Maxwell designated as Confidential.

               1. The third-party doctrine does not compel a different result.
        It is irrelevant that Maxwell’s                          were in the possession of

            and not her own attorneys. The third-party doctrine does not apply here because




        4
          This argument adheres to Martindell’s holding that the government there should have either
moved to intervene or issued a subpoena to obtain the                       . For one thing, the Fourth
Amendment was not at issue in Martindell, so the Court had no occasion to decide whether a warrant
might have been required. For another, Martindell does not speak to what showing would have been
required for the issuance of a subpoena, probable cause or something less. Even if a warrant weren’t
required here, a showing of probable cause was. See People v. Mason, 989 P.2d 757, 760 (Colo. 1999)
(noting jurisdictions that recognize an expectation of privacy in subpoenaed materials and that require a
subpoena duces tecum of such records to be supported by probable cause). Finally, of course, the
government didn’t comply with Martindell because it never gave Maxwell notice and an opportunity to
quash the subpoena and to challenge the government’s misrepresentations through the adversary process.


                                                      8
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 13 of 22




Maxwell did not voluntarily share anything with            and because every other circumstance

supported Maxwell’s expectation that her                           would be private.

        The Supreme Court has held that “a person has no legitimate expectation of privacy in

information [she] voluntarily turns over to third parties.” Smith, 442 U.S. at 743–44. “That

remains true ‘even if the information is revealed on the assumption that it will be used only for a

limited purpose.’” Carpenter, 138 S. Ct. at 2216 (quoting United States v. Miller, 425 U.S. 435,

443 (1976)).

        In Smith v. Maryland, the Court ruled that the government’s use of a pen register—a

device used by telephone companies to record the outgoing phone numbers dialed on a landline

telephone—was not a search. By placing calls from his landline, the Court reasoned, Smith

“voluntarily conveyed” the dialed numbers to the telephone company by “expos[ing] that

information to its equipment in the ordinary course of business.” 442 U.S. at 744. The Court held

that Smith has “assumed the risk” that the telephone company’s records “would be divulged to

police.” Id. at 745.

        Similarly, in United States v. Miller, the Court ruled that the government could subpoena

an individual’s bank records, including several months of canceled checks, deposit slips, and

monthly statements. The Court explained that because the checks were “not confidential

communications but negotiable instruments to be used in commercial transactions,” and because

the bank statements contained information “exposed to [bank] employees in the ordinary course

of business,” Miller had only a limited expectation of privacy. 425 U.S. at 442. The Court

determined that Miller had “take[n] the risk, in revealing his affairs to another, that the

information [would] be conveyed by that person to the Government.” Id. at 443.




                                                  9
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 14 of 22




       Neither Miller nor Smith supports a conclusion that Maxwell had anything but a

legitimate and reasonable expectation of privacy in her                         . First, Maxwell did

not “voluntarily convey”                                     sued her, not the other way around.

Moreover, Maxwell declined to answer



                                                                . None of this was voluntary.

       Second, Maxwell’s expectation of privacy in her                            is not limited in

the way Miller’s expectation of privacy was limited in his bank records. To the contrary, both

Maxwell’s               were confidential under the Protective Order. And while the Protective

Order did not apply to evidence produced at trial, the case settled before trial, thereby confirming

Maxwell’s legitimate expectation that the                          would not be shared outside the

attorneys working in the case and, if necessary, the district court.

       Third, Maxwell reasonably understood that the                                    would not

be shared with the government. Giuffre proposed a law enforcement exception to the Protective

Order’s confidentiality requirement, but Maxwell rejected the exception and the district court

never adopted it. Unlike in Smith and Miller, Maxwell did not “assume the risk” that her

                       would be divulged to the government.

       Had the government obtained the                            from Maxwell’s attorneys, there

would be no question that the government’s conduct would constitute a Fourth Amendment

search. “[C]lients of an attorney maintain a legitimate expectation of privacy in their client files.”

DeMassa v. Nunez, 770 F.2d 1505, 1506 (9th Cir. 1985); see Doe v. Broderick, 225 F.3d 440,

450–52 (4th Cir. 2000) (holding that detective’s examination of a patient file held by a

methadone clinic was a search and, without probable cause, violated the patient’s Fourth




                                                 10
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 15 of 22




Amendment rights); see also People v. Gutierrez, 222 P.3d 925, 936 (Colo. 2009) (concluding

that a taxpayer has a reasonable expectation of privacy in information conveyed to his tax

preparer because “state and federal laws . . . shield a taxpayer’s return from unfettered access by

government officials”). Because she did not voluntarily offer her                             , and

because she reasonably believed                    was and would remain private under the

Protective Order, Maxwell had a legitimate and reasonable expectation of privacy in her

                        even though the government obtained them from a third party other than

her attorneys. See In re Grand Jury Subpoena, JK-15-029, 828 F.3d at 1090 (“DAS’s current

possession of [Kitzhaber’s] emails does not vitiate that claim. The Fourth Amendment protects

people, not places. Kitzhaber’s interests therefore attach to the things seized, not merely to the

place where they are located.” (cleaned up)).

        C. The government’s subpoena to                               was an unconstitutional
           Fourth Amendment seizure.
        Although Fourth Amendment challenges typically involve “the subsequent search of the

container rather than to its initial seizure by the authorities, . . . a seizure of personal property is

per se unreasonable” under the “Fourth Amendment unless it is accomplished pursuant to a

judicial warrant issued upon probable cause and particularly describing the items to be seized.”

Smith, 462 U.S. at 701–02. Here, the government

                                           . The government did not obtain a warrant, nor did it

establish probable cause for the seizure. For this additional reason, this Court should suppress the

                        and all material Maxwell designated as confidential.

  II. The government’s violation of Martindell requires suppression.
        By issuing a

                                         , the government circumvented the Second Circuit’s



                                                   11
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 16 of 22




decision in Martindell v. International Telephone & Telegraph Corp. and violated Maxwell’s

rights.

          In Martindell, the government tried to obtain deposition transcripts of twelve individuals

deposed in a private shareholders’ derivative lawsuit. 594 F.2d at 292–93. All twelve depositions

were taken “pursuant to a court-approved stipulation to the effect that the depositions should be

treated as confidential and used solely by the parties for prosecution or defense of the action.” Id.

at 292. Without seeking to intervene, and without serving a subpoena or warrant, the government

called and then wrote to the district court to request access to the deposition transcripts. Id. at

293. The government claimed that the deposition transcripts were relevant to its investigation of

perjury, subordination of perjury, and conspiracy related to the 1970 presidential election in

Chile. Id. The government, “moreover, feared that unless it could obtain the deposition

transcripts, it would be unable to secure statements from the witnesses because they would claim

their Fifth Amendment rights in any investigative interviews.” Id. The district court denied the

government’s request, “holding that the deposition testimony had been given in reliance upon the

protective order, thus rendering unnecessary invocation by the witnesses of their Fifth

Amendment rights, that the requested turnover would raise constitutional issues, and that

principles of fairness mandated enforcement of the protective order.” Id. The government

appealed, and the Second Circuit affirmed.

          The Second Circuit was blunt in explaining the government’s missteps:

          The government may not . . . simply by picking up the telephone or writing a letter
          to the court (as was the case here), insinuate itself into a private civil lawsuit
          between others. The proper procedure, as the government should know, was either
          to subpoena the deposition transcripts for use in a pending proceeding such as a
          grand jury investigation or trial, in which the issue could be raised by motion to
          quash or modify the subpoena, see Rule 17(c), or to seek permissive intervention
          in the private action pursuant to Rule 24(b), for the purpose of obtaining vacation
          or modification of the protective order.



                                                  12
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 17 of 22




Id. at 294. Either avenue, explained the Court, would provide the real party in interest notice of

the government’s request and an opportunity to be heard, either by moving to quash the

subpoena or opposing intervention and modification of the protective order. Id.

        The Court also rejected the government’s argument that the district court was too

solicitous of the witnesses’ Fifth Amendment rights. Id. at 295. According to the Government,

the witnesses were under no compulsion to testify, and having given testimony, they voluntarily

waived any Fifth Amendment right they may have had. Id. But as the Second Circuit explained,

the government’s argument ignored the reality of civil litigation:

        Unless a valid Rule 26(c) protective order is to be fully and fairly enforceable,
        witnesses relying upon such orders will be inhibited from giving essential
        testimony in civil litigation, thus undermining a procedural system that has been
        successfully developed over the years for disposition of civil differences. In short,
        witnesses might be expected frequently to refuse to testify pursuant to protective
        orders if their testimony were to be made available to the government for criminal
        investigatory purposes in disregard of those orders.

Id. at 295–96. The Court thus held:

        [A]bsent a showing of improvidence in the grant of a Rule 26(c) protective order
        or some extraordinary circumstance or compelling need, none of which appear here,
        a witness should be entitled to rely upon the enforceability of a protective order
        against any third parties, including the Government, and that such an order should
        not be vacated or modified merely to accommodate the government’s desire to
        inspect protected testimony for possible use in a criminal investigation, either as
        evidence or as the subject of a possible perjury charge.

Id. at 296.




Maxwell did not even know the government had her                             until after she was


                                                 13
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 18 of 22




indicted, and she didn’t know for a month more just



       Martindell has been binding Second Circuit law for more than forty years, and the

government’s violation of its holding is no trivial matter.




       In Palmieri v. State of New York, the federal magistrate issued two sealing orders

protecting the confidentiality of settlement discussions of a private antitrust case. 779 F.2d 861,

863–64 (2d Cir. 1985). Because the subject matter of the antitrust case overlapped with an

ongoing state criminal antitrust case, the state Attorney General moved to intervene in the private

antitrust case, to modify the seal orders, to access the settlement material, and to present the

material and testimony to a state grand jury. Id. at 862. The district court granted the Attorney

General’s request, but the Second Circuit, applying Martindell, reversed. Id. The Second Circuit

recognized that the state Attorney General, like the federal government, “enjoys a similarly

privileged position with respect to its investigatory powers.” Id. at 866. Those powers, in turn,

“raise[d] a rebuttable presumption against modification of the orders.” Id. Indeed, given the

parties’ reliance on the sealing orders, the Attorney General’s “burden [was] heavier than it

might otherwise be.” Id. at 865.



                                                 14
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 19 of 22




       Here, the government did not even attempt the Martindell process the Attorney General

attempted in Palmieri.



 III. The government’s violation of the Fifth Amendment requires suppression.
       The Fifth Amendment provides: “No person . . . shall be compelled in any criminal case

to be a witness against himself.” U.S. CONST. amend. V. For three separate reasons

                                                              violates the Fifth Amendment.

       First, the Fifth Amendment “proscribe[s] the compelled production of . . . a Testimonial

Communication that is incriminating.” Fisher, 425 U.S. at 408; see Dionisio, 410 U.S. at 11

(“The grand jury cannot require a witness to testify against himself.”). The subpoena to

        contravenes this proscription because it literally “compels production” of Maxwell’s

incriminating testimony (                           ).

       Second, “a compulsory production of the private books and papers . . . [also] is

compelling . . . him to be a witness against himself, within the meaning of the fifth amendment.”

Boyd, 116 U.S. at 634–35. Even if the subpoena does not literally require Maxwell to “testify

against herself,” Dionisio, 410 U.S. at 11, Maxwell’s                        were private and

confidential under the Protective Order. Supra Part I.B. Compelling production of these

                 is itself a Fifth Amendment violation.

       Third, the government’s circumvention of Martindell unconstitutionally burdens

Maxwell’s Fifth Amendment rights.



                                                          . But Martindell protects Maxwell from

the government’s conduct, and it authorized her to give                        under the shield of

the Protective Order without worrying whether the government could “insinuate itself” into the


                                               15
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 20 of 22




case and use her own words against her. 594 F.2d at 294. The Fifth Amendment would mean

nothing if an individual were told by a district court that she need not invoke its protections

because the government could not use her testimony against her—or at least could not do so

without notice and an opportunity to be heard—only to find out that the testimony she offered

with the district court’s blessing was the primary evidence against her in a criminal case and the

basis of perjury charges.

       That is the lesson of United States v. Oshatz, in which this Court quashed a government

subpoena issued to a court reporter for a transcript of a deposition offered by the defendant in a

civil proceeding. 700 F. Supp. 696, 697 (S.D.N.Y. 1988). Oshatz (who had been indicted at the

time of his deposition) was deposed and did not invoke his Fifth Amendment privilege against

self-incrimination on “the understanding that a protective order would preserve his Fifth

Amendment rights.” Id. at 699. Applying Martindell, this Court quashed the government’s

subpoena and refused to release the deposition transcript because the “government [had] not

argued that the protective order was improvidently granted or that there [were] some

extraordinary circumstances or compelling need.” Id. at 701.

       Here, as in Oshatz, Maxwell was deposed on “the understanding that a protective order

would preserve” the confidentiality of her testimony. And even though Maxwell had not been

indicted at the time of her depositions, the threat of an investigation was obvious, and that threat

was the very reason the Protective Order deliberately excluded a law-enforcement exception.

(Moreover, Maxwell moved the court to require Giuffre to disclose any law enforcement

investigation of which she was aware.) As in Oshatz, the Protective Order was designed to

preserve Maxwell’s Fifth Amendment rights. Where this Court in Oshatz granted a motion to

quash, here it should grant a motion to suppress.




                                                 16
       Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 21 of 22




        For these reasons, this Court should suppress the                       under the Fifth

Amendment.

                                          Conclusion
        For these reasons, this Court should: (1) suppress all evidence the government obtained

from                and any other evidence derived therefrom; or (2) suppress the April and July

2016 depositions and all evidence derived therefrom; and (3) dismiss Counts Five and Six.

Maxwell requests an evidentiary hearing on this Motion.

        Dated: January 25, 2021

                                              Respectfully submitted,


                                              s/ Jeffrey S. Pagliuca
                                              Jeffrey S. Pagliuca
                                              Laura A. Menninger
                                              HADDON, MORGAN & FOREMAN P.C.
                                              150 East 10th Avenue
                                              Denver, CO 80203
                                              Phone: 303-831-7364


                                              Mark S. Cohen
                                              Christian R. Everdell
                                              COHEN & GRESSER LLP
                                              800 Third Avenue New York, NY 10022 Phone:
                                              212-957-7600


                                              Bobbi C. Sternheim
                                              Law Offices of Bobbi C. Sternheim
                                              33 West 19th Street - 4th Floor
                                              New York, NY 10011
                                              Phone: 212-243-1100

                                              Attorneys for Ghislaine Maxwell




                                                17
     Case 1:15-cv-07433-LAP Document 1206-13 Filed 02/04/21 Page 22 of 22




                                   Certificate of Service
       I hereby certify that on January 25, 2021, I served by email, pursuant Rule 2(B) of the
Court’s individual practices in criminal cases, the Memorandum of Ghislaine Maxwell in Support
of Her Motion Under the Fourth Amendment, Martindell, and the Fifth Amendment to Suppress
All Evidence Obtained from the government’s Subpoena to                  and to Dismiss Counts
Five and Six upon the following:

 Alison Moe
 Maurene Comey
 Andrew Rohrbach
 Lara Pomerantz
 U.S. Attorney’s Office, SDNY
 One Saint Andrew’s Plaza
 New York, NY 10007
 Alison.moe@usdoj.gov
 Maurene.comey@usdoj.gov
 Andrew.Rohrbach@usdoj.gov
 Lara.Pomerantz@usdoj.gov


                                                  s/ Christian R. Everdell




                                             18
